UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                Case No.: 1−20−10322−CLB
                                                      Chapter: 11
         The Diocese of Buffalo, N.Y.
                                                      Tax ID: 16−0743984
                          Debtor(s)


                                        NOTICE OF ENTRY

     PLEASE TAKE NOTICE of the entry of the Order referenced below, duly entered in
the within action in the Clerk's Office of the United States Bankruptcy Court, Western District
of New York on November 14, 2023. The Clerk of Court of the United States Bankruptcy
Court, Western District of New York, hereby certifies that a copy of the subject Order was sent
to all parties in interest herein as required by the Bankruptcy Code and the Federal Rules of
Bankruptcy Procedure.

Docket              Decision and Order. Signed on 11/14/2023 (RE: related document(s)2505
#2607:              Motion for Examination filed by Creditor Committee Official Committee
                    of Unsecured Creditors, 2511 Amended Motion filed by Creditor
                    Committee Official Committee of Unsecured Creditors). NOTICE OF
                    ENTRY. (LaBelle, L.)

Date: November 14, 2023                              Lisa Bertino Beaser
                                                     Clerk of Court

Form ntcentry/Doc 2607
www.nywb.uscourts.gov




         Case 1-20-10322-CLB, Doc 2607-2, Filed 11/14/23, Entered 11/14/23 14:04:59,
                            Description: Notice of Entry, Page 1 of 1
